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				IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2017 OK 50Case Number: SCBD-6395Decided: 06/19/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 50, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION.



IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONPAYMENT OF 2016 DUES




ORDER STRIKING NAMES


The Board of Governors of the Oklahoma Bar Association filed an Application for Order Striking Names of attorneys from the Oklahoma Bar Association(s membership rolls for failure to pay dues as members of the Oklahoma Bar Association for the year 2016.

Pursuant to the Rules Creating and Controlling the Oklahoma Bar Association (Rules), 5&nbsp;O.S.&nbsp;2011 ch. 1, app 1, art. VIII (2, the Oklahoma Bar Association(s members named on Exhibit A, attached hereto, were suspended from membership in the Oklahoma Bar Association and prohibited from practicing law in the State of Oklahoma by this Court(s Order of June 6, 2016, for failure to pay their 2016 dues in accordance with Article VIII, Section 2 of the Rules. Based upon the application, this Court finds that the Board of Governors determined at its May 19, 2017, meeting that none of the Oklahoma Bar Association members named on Exhibit A, attached hereto, have applied for reinstatement at the time of the filing of its application. The Board of Governors further declared that the members set out on Exhibit A, attached hereto, shall cease to be members of the Oklahoma Bar Association and that their names should therefore be stricken from its membership rolls and the Roll of Attorneys, pursuant to Article VIII, Section&nbsp;5 of the Rules on June 6, 2017. This Court further finds that the actions of the Board of Governors of the Oklahoma Bar Association are in compliance with the Rules.

It is therefore ordered that the attorneys named on Exhibit A, attached hereto, are hereby stricken from the Roll of Attorneys for failure to pay their dues as members of the Association for the year 2016.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 19TH DAY OF JUNE, 2017.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.



&nbsp;


&nbsp;

Mary Shannan Arbabi, OBA #16562
1001 Montgomery Pl.
Lucas, TX 75002-3710

Vance William Armor, OBA #14914
P.O. Box 2242
Oklahoma City, OK 73101-2242

Kelly Dawn Bell, OBA No. 19403
7753 S. Mingo
Tulsa, OK 74133

Dionna Dawn Bierbaum, OBA #18040
2026 Glenco Terr.
Fort Worth, TX 76110

Leon Douglas Bragg Jr., OBA #22780
1709 Chamblee Dr.
Norman, OK 73071

Jane Ann Cobb, OBA #10247
P.O. Box 52338
Tulsa, OK 74152-0338

Donna M. Copeland, OBA #14992
2904 South 21st Street
Fort Smith, AR 72901

John Jay Dalton, OBA #15381
4050 E. 53rd St.
Tulsa, OK 74135

Samuel J. Demaio, OBA #20921
10000 N. Central Expy., Ste. 400
Dallas, TX 75231

Adam Scott Denton, OBA #17015
2777 N. Stemmons Fwy., Ste. 1157
Dallas, TX 75207-2506

Patricia Ann McIntyre Espedal, OBA #17303
Murgata 15
N-4008 Stavanger
Stavanger, 4008

Danielle Elizabeth Gentges, OBA #19100
1517 S. Newport
Tulsa, OK 74120

Tiffany Lynn Grant, OBA #22915
2215 Westgate Plaza
Grapevine, TX 76051

Julie Helene Hall, OBA #16243
3743 S. Knoxville
Tulsa, OK 74135

John Christopher Hastings, OBA #14735
620 North West 54th
Oklahoma City, OK 73118

Michael Hatfield, OBA #30578
143 Lighthouse Drive
Jonestown, PA 17038

Amber Dawn Huffman-Sanderson, OBA #21705
P.O. Box 332
Marlow, OK 73055-0332

Noah Douglas Johnson, OBA #32026
8815 Audrie Rae Ln.
Cypress, TX 77433

Caroline Bouscaren Lapish, OBA #31784
401 S. Boston, Ste. 2900
Tulsa, OK 74103

Stephen Alan Littlefield, OBA #11608
3815 Caleb Lane
Missouri City, TX 77459

Stephanie Michelle Lorance, OBA #22633
217 N. Harvey, Ste. 406
Oklahoma City, OK 73102

Corrine Lynn O(Day, OBA #19900
6226 E. 101st St. S., Ste. 300
Tulsa, OK 74137

Michael Gaylon Parkinson, OBA #17189
4050 Reserve Pt.
Colorado Sprgs, CO 80904-1043

Faith Marie Phillips, OBA #21030
P.O. Box 213
Proctor, OK 74457

Brian Edward Powley, OBA #17691
7628 N.W. 101st St.
Oklahoma City, OK 73162-5301

Robert Lee Raasch, OBA #16292
101 S. Country Club Rd., Apt. G1
Muskogee, OK 74403

Jeffrey Daniel Shelton, OBA #31305
210 Park Ave., Suite 1140
Oklahoma City, OK 73102

Helen Shin, OBA #18466
411 Emerald Ave., Apt 1
El Cajon, CA 92020

Leona Irene Shoffit, OBA #19570
418 Sunset Drive
Hereford, TX 79045

Michael Wayne Simpson, OBA #15617
P.O. Box 1011
Fort Defiance, AZ 86504

Kyle Austin Smith, OBA #17902
35 Fraiser Fir Pl.
The Woodlands, TX 77389

Nathaniel Keith Soderstrom, OBA #30431
346343 East 904 Road
Chandler, OK 74834

Thomas R. Swise, OBA #8805
501 N.W. 40th St.
Oklahoma City, OK 73118

Worth Irvin Thornton, OBA #31796
8612 Piney Creek Bend
Austin, TX 78745

Eric Richard Thorsen, OBA #30931
7740 E. 30th Pl.
Tulsa, OK 74129

Amber L. Willingham, OBA #16772
5811 Hawthorne Garden Way
Katy, TX 77494

Hilary I. Zarrow, OBA #10535
900 Mid-Continent Tower
401 S. Boston Ave.
Tulsa, OK 74103-4016





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